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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 UNITED STATES OF AMERICA, et al.,


          Plaintiffs and Relator,
                     v.
  NOVARTIS PHARMACEUTICALS
  CORPORATION,
                                                              11 Civ. 0071 (PGG)
       Defendant.
  UNITED STATES OF AMERICA,                                NOTICE OF MOTION


          Plaintiff,
                     v.
  NOVARTIS PHARMACEUTICALS
  CORPORATION,


          Defendant.


        PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of the United States of America’s Motions In Limine, and the Declaration of Jeannette A.

Vargas, dated April 8, 2019, with exhibits, Plaintiff, by its attorney, Geoffrey S. Berman, United

States Attorney for the Southern District of New York, hereby moves this Court for an order

pursuant to Federal Rules of Evidence 401, 402 and 403, and Federal Rule of Civil Procedure

37(c)(1), to preclude certain evidence at trial and to establish the admissibility of certain

evidence at trial.
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Dated:   New York, New York
         April 8, 2019
                                     GEOFFREY S. BERMAN
                                     United States Attorney for the
                                     Southern District of New York
                                     Attorney for Defendants

                              By:    /s/ Jeannette Vargas
                                     JEANNETTE VARGAS
                                     PIERRE G. ARMAND
                                     MÓNICA FOLCH
                                     JACOB LILLYWHITE
                                     JENNIFER JUDE
                                     JACOB M. BERGMAN
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